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 4
 5                              UNITED STATES DISTRICT COURT
 6                                   DISTRICT OF NEVADA
 7                                              ***
 8 UNITED STATES OF AMERICA,                   )
                                               )
 9                                             )
                 Plaintiff,                    )      2:06-cr-00210-LDG-LRL
10                                             )
   vs.                                         )
11                                             )      ORDER
                                               )
12 TOMMY MUCKLOW,                              )
                                               )
13               Defendant.                    )
   ____________________________________)
14
                 On August 31, 2011, this Court granted Defense Counsel James Oronoz’s oral motion
15
   to withdraw as counsel for Tommy Mucklow.
16
                 IT IS ORDERED that Jeremy Delicino is appointed as counsel in place of
17
   James Oronoz for all future proceedings.
18
                 Mr. Oronoz shall forward the file to Mr. Delicino forthwith.
19
                 DATED this ____ day of September, 2011.
20
                 Nunc Pro Tunc date September 6, 2011.
21
22
                                                     ____________________________________
23                                                   UNITED STATES DISTRICT JUDGE
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27
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